
80 So.3d 428 (2012)
R.L.L., a child, Appellant,
v.
STATE of Florida, Appellee.
No. 4D10-4195.
District Court of Appeal of Florida, Fourth District.
February 15, 2012.
Carey Haughwout, Public Defender, and Patrick B. Burke, Assistant Public Defender, West Palm Beach, for appellant.
Pamela Jo Bondi, Attorney General, Tallahassee, and Laura Fisher, Assistant Attorney General, West Palm Beach, for appellee.
STEVENSON, J.
R.L.L., a juvenile, appeals a disposition order finding him guilty of felony battery. The State concedes that the disposition order incorrectly states that the appellant was guilty of felony battery although the trial judge orally found him guilty of domestic battery, as charged in the juvenile petition. See, e.g., K.E.H. v. State, 717 So.2d 182, 183 (Fla. 1st DCA 1998) (remanding for correction of written order that failed to conform to trial court's oral pronouncement). The State also concedes that the trial court erroneously assessed court costs as adjudication had been withheld. See § 775.083(2), Fla. Stat. (2010) ("[C]ourt costs shall be assessed and collected in each instance a defendant . . . [is] adjudicated delinquent for, a felony, a misdemeanor, or a criminal traffic offense under state law.").
We have considered appellant's remaining argument that the trial court erred in finding him guilty where the State's evidence did not rebut the legal defense of self-defense, but we find no fundamental error in this unpreserved claim. Accordingly, we affirm in part, reverse in part and remand for entry of a corrected order consistent with this decision.
Affirmed in part, reversed in part and remanded.
MAY, C.J., and GROSS, J., concur.
